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                       EXHIBIT B

                    Cohen Declaration
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
    Z GALLERIE, LLC, et al., 1                                       ) Case No. 19-10488 (LSS)
                                                                     )
                                       Debtors.                      ) (Jointly Administered)
                                                                     )

                   DECLARATION OF JASON A. COHEN IN SUPPORT
                  OF THE DEBTORS’ APPLICATION FOR AN ORDER
             (I) AUTHORIZING THE EMPLOYMENT AND RETENTION OF
         LAZARD FRÈRES & CO. LLC AND LAZARD MIDDLE MARKET LLC
          AS INVESTMENT BANKER EFFECTIVE NUNC PRO TUNC TO THE
    PETITION DATE, (II) APPROVING THE TERMS OF THE LAZARD AGREEMENT,
       (III) WAIVING CERTAIN TIME-KEEPING REQUIREMENTS PURSUANT
         TO LOCAL RULE 2016-2(H), AND (IV) GRANTING RELATED RELIEF


             I, Jason A. Cohen, declare under penalty of perjury and pursuant to 28 U.S.C. § 1746 that

the following is true and correct to the best of my knowledge and belief:

             1.     I am a Managing Director in the Restructuring Group at Lazard Middle Market

LLC (“LMM,” and, together with Lazard Frères & Co. LLC, “Lazard”), which has its principal

office at 600 Fifth Avenue, New York, New York 10020. I am authorized to make this declaration

on behalf of LMM and in support of the application (the “Application”) of the above-captioned

debtors and debtors-in-possession (the “Debtors”) for entry of an order: (a) authorizing the

retention and employment of Lazard as investment banker to the Debtors nunc pro tunc to the

Petition Date; (b) approving the terms of the Lazard Agreement; (c) waiving certain time-keeping

requirements pursuant to Local Rule 2016-2(h); and (d) granting related relief. 2 Unless otherwise



1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are Z Gallerie, LLC (3816) and Z Gallerie Holding Company, LLC (5949). The location of the Debtors’
      service address is: 1855 West 139th Street, Gardena, CA 90249.
2     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
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stated in this declaration, I have personal knowledge of the facts set forth herein. 3 LMM was

retained pursuant to that certain engagement letter, dated January 29, 2019 (the “Engagement

Letter”) by and between LMM and Z Gallerie Holdings, LLC, Z Gallerie Holding Co., LLC, and

Z Gallerie, LLC, a copy of which is attached as Exhibit 1 to Exhibit A of the Application, and

that certain letter regarding indemnification and related matters, dated as of January 29, 2019 by

and between the parties (the “Indemnification Letter”).

        2.         LMM is a wholly owned subsidiary of Lazard Frères & Co. LLC (“Lazard Frères”),

which is the primary U.S. operating subsidiary o f a preeminent international financial advisory

and asset management firm. Lazard Frères’ principal office is located at 30 Rockefeller Plaza, New

York, New York 10020. Lazard, together with its predecessors and affiliates, has been advising

clients around the world for over 150 years. Lazard has dedicated professionals who provide

restructuring services to its clients and the current managing directors, directors, vice presidents,

and associates of Lazard have extensive experience working with financially troubled companies

in complex financial restructurings out-of-court and in chapter 11 proceedings. Lazard and its

principals have been involved as advisor to debtor, creditor, and equity constituencies and

government agencies in many reorganization cases. Since 1990, Lazard and its affiliates have

been involved in over 250 restructurings since 1990, representing over $1 trillion in debtor assets.

        3.         Notably, Lazard has been retained as an investment banker and financial advisor in

numerous large and complex chapter 11 cases, including, among others, In re Sears Holdings

Corporation, No. 18-23538 (RDD) (Bankr. S.D.N.Y. Nov. 9, 2018); In re FirstEnergy Solutions




    Application.
3   Certain disclosures herein relate to matters within the personal knowledge of other professionals at Lazard and
    are based on information provided by them.


                                                        2
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Corp., No. 18-50757 (Bankr. N.D. Ohio May 8, 2018); In re Claire’s Stores, Inc., No. 18-10584

(MFW) (Bankr. D. Del. Apr. 4, 2018); In re Toys “R” Us, Inc., Case No. 17-34665 (KLP) (Bankr.

E.D.Va. Oct. 25, 2017); In re GST AutoLeather, Inc., Case No. 17-12100 (LSS) (Bankr D. Del.

Oct. 27, 2017); In re Sabine Oil & Gas Corp., No. 15-11835 (SCC) (Bankr. S.D.N.Y. Sept. 10,

2015); In re The Standard Register Co., No. 15-10541 (BLS) (Bankr. D. Del. Apr. 13, 2015); In

re AWI Delaware, Inc., No. 14-12092 (KJC) (Bankr. D. Del. Sep. 17, 2014); In re Longview

Power, LLC, No. 13-12211 (BLS) (Bankr. D. Del. Sept. 24, 2013); In re Cengage Learning, Inc.,

No. 13-44106 (ESS) (Bankr. E.D.N.Y. July 24, 2013); In re Exide Techs., No. 13-11482 (KJC)

(Bankr. D. Del. July 10, 2013); In re A123 Sys., Inc., No. 12-12859 (KJC) (Bankr. D. Del. Nov. 9,

2012).

         4.    In connection with its proposed retention by the Debtors in these chapter 11 cases,

Lazard obtained from the Debtors’ counsel the names of individuals and entities that may be

parties-in-interest in these chapter 11 cases (the “Potential Parties-in-Interest”), which parties are

listed on Schedule 1, annexed hereto. Lazard then compared the names of the Potential Parties-

in-Interest with the names of entities that have entered into engagement agreements with Lazard

in the last three years. To the extent that this inquiry revealed that any of the Potential Parties-in-

Interest (or any of their known or apparent affiliates) entered into any such engagement agreements

with Lazard within the last three years, such parties are listed on Schedule 2 annexed hereto.

To the best of my knowledge and belief, Lazard’s representation of each entity listed on

Schedule 2 (or its known or apparent affiliates) was or is only on matters that are unrelated to the

Debtors and these cases. Other than as listed on Schedule 2, I am unaware of any investment

banking engagements of Lazard by the Potential Parties-in-Interest within the last three years.

Given the size of the Firm and the breadth of Lazard’s client base, however, it is possible that


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Lazard may now or in the future be retained by one or more of the Potential Parties-in-Interest in

unrelated matters without my knowledge. To the extent that Lazard discovers or enters into any

new, material relationship with Potential Parties-in-Interest, it will supplement this Declaration.

       5.      In addition to the parties listed on Schedule 2, Lazard may also represent, or may

have represented, affiliates, equity holders or sponsors of Potential Parties-in-Interest and Lazard

may have worked with, continue to work with, have or had mutual clients with, been represented

by and/or advised certain accounting and law firms that are Potential Parties-in-Interest (and, in

the case of law firms, may have entered into engagement agreements in which the law firm was

named as client although the work was performed for a mutual client of Lazard’s and the applicable

law firm). Lazard may also represent, or may have represented in the past, committees or groups

of lenders or creditors in connection with certain restructuring or refinancing engagements, which

committees or groups include, or included, entities that are Potential Parties-in-Interest. Certain

of the Potential Parties-in-Interest may also be vendors and/or have other non-investment banking

relationships with Lazard.

       6.      Lazard also has asset management affiliates, Lazard Asset Management LLC

(“LAM”) and Lazard Frères Gestion SAS (“LFG”), and an affiliate, Edgewater HoldCo LLC, that

hold interests in the management companies for certain private funds (collectively, “Edgewater”).

Although Lazard receives payments from LAM, LFG, and Edgewater generated by their respective

business operations, each of LAM, LFG, and Edgewater is operated as a separate and distinct

affiliate and is separated from Lazard’s other businesses. As part of their regular business

operations, LAM and LFG may act as investment advisor for or trade securities (including in

discretionary client accounts, and through the operation of hedge funds and mutual funds, in which

cases investment decisions are made by LAM or LFG), including on behalf of creditors, equity


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holders or other parties in interest in these cases, and Lazard or its respective affiliates, managing

directors and employees. Some of these LAM or LFG accounts and funds may have held, may

now hold or may in the future hold debt or equity securities of the Debtors or the Debtors’ creditors,

equity holders, or other parties in interest in these cases, and LAM or LFG may have relationships

with such parties. Furthermore, some of the investment funds managed by Edgewater may have

held, may now hold or may in the future hold debt or equity securities of the Debtors or the

Debtors’ creditors, equity holders, or other parties in interest in these cases. Additionally, the

Debtors, creditors, equity holders, or other parties in interest in these cases, and Lazard or its

affiliates, managing directors, and employees, may be investors in investment funds that are

managed by Edgewater. Lazard has in place compliance procedures to ensure that no confidential

or non-public information concerning the Debtors has been or will be available to employees of

LAM, LFG, or Edgewater.

        7.      Although Lazard has researched the Potential Parties-in-Interest list, the Debtors

may also have numerous customers, creditors, competitors, and other parties with whom they

maintain business relationships that are not included as Potential Parties-in-Interest and with whom

Lazard may maintain business relationships. Additionally, as noted above, Lazard is a U.S.

operating subsidiaries of an international financial advisory and asset management firm that has

several legally separate and distinct affiliates. Although it is possible that employees of certain

affiliates may assist Lazard in connection with Lazard’s engagement, as Lazard is the only entity

being retained by the Debtors, we have researched only the electronic client files and records of

Lazard, not of all of its affiliates, to determine relationships with any Potential Parties-in-Interest.

        8.      In addition, as of the date hereof, Lazard and its affiliates have approximately 2,600

employees worldwide. It is possible that certain of Lazard’s and its affiliates’ respective directors,


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officers, and employees may have had in the past, may currently have, or may in the future have

connections to (i) the Debtors, (ii) Potential Parties-in-Interest in these chapter 11 cases or

(iii) funds or other investment vehicles that may own debt or securities of the Debtors or other

Potential Parties-in-Interest.

        9.        During the 90 day period prior to the commencement of these cases, Lazard was

paid in the ordinary course certain Monthly Fees and expense reimbursements. Specifically, on

March 7, 2019, Lazard was paid its February and March Monthly Fees and related expense

reimbursements for a total of $155,394.47. 4 Additionally, Lazard was provided a $75,000 expense

retainer in connection with the payment of its March Monthly Fee on March 7, 2019. Lazard will

apply the $75,000 in retainer amounts received from the Debtors before the Petition Date first to

any prepetition expenses incurred but not reimbursed prepetition, second to any postpetition

expenses and third to Monthly Fees. As of the Petition Date, no other amounts were due and

payable to Lazard under the Lazard Agreement. Accordingly, Lazard is not a prepetition creditor

of the Debtors.

        10.       Other than as disclosed herein, Lazard has no relationship with the Debtors of

which I am aware after due inquiry.

        11.       Based upon the foregoing, except as otherwise set forth herein, to the best of my

knowledge, information, and belief, Lazard (a) is not a creditor, equity security holder or an insider

of the Debtors and (b) is not or was not, within two years before the Petition Date, a director,

officer, or employee of any of the Debtors.



                             [Remainder of page intentionally left blank]

4   Although the Lazard Agreement was effective January 29, 2019, Lazard did not charge the Debtors a Monthly
    fee for the three days worked in January 2019.


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          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.

 Dated: March 20, 2019                                   /s/ Jason A. Cohen
        Wilmington, Delaware                            Jason A. Cohen
                                                        Lazard Middle Market LLC
                                                        Managing Director




ZG - Lazard Retention Sig Page- Cohen.docx
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                                        Schedule 1

                                Potential Parties-in-Interest


Bank Accounts                                        Zorko, Gary
  Bank of America
  JPMorgan Chase Bank                              Debtor Entities, Subsidiaries & Affiliates
  Well Fargo Bank                                    Z Gallerie Founder Holdings Inc.
                                                     Z Gallerie Holding Co. LLC
Bankruptcy Professionals                             Z Gallerie Holdings LLC
  Gasthalter & Co. LP                                Z Gallerie LLC

Banks                                              Debtors, Subsidiaries & Affiliates
  Bank of America                                    Z Gallerie Holding Company, LLC
  JPMorgan Chase Bank                                Z Gallerie Holdings, LLC
  Well Fargo Bank                                    Z Gallerie, LLC

Current & Former Directors & Officers              Directors & Officers
 Behrens, Laura                                      Behrens, Laura
 Frank, Robert                                       Frank, Robert
 Gall, Kristen                                       Gall, Kristen
 Gardener, Shelley                                   Gripenstraw, Judith
 Goddu, Roger                                        Hernandez, Laura
 Gripenstraw, Judith                                 Lam, Justin
 Hernandez, Laura                                    Lyberg, Linda
 Kahn, Matthew                                       McGinty, Jim
 Kilbourne, Lynn                                     Montenegro, Laura
 Kim, Shin                                           Navarrette, Victor
 Lam, Justin                                         Nicklo, Christopher M.
 Lyberg, Linda                                       Rondon, Courtney
 McGinty, Jim                                        Ross, Peter
 Mckay Grbich, Mary                                  Tanaka, Rhonda
 Miller, Alan                                        Truong, Theresa
 Montenegro, Laura                                   Watson, Sharon
 Moore, Steve                                        Wolk, Malcolm
 Navarrette, Victor                                  Zeiden, Joseph
 Nicklo, Christopher M.                              Zeiden, Michael
 Otto, Rob
 Ozkay, Kerem                                      Equity Holders
 Poer, Jim                                           Brentwood ZG LLC
 Roitman, Mara                                       Brentwood ZG, LLC
 Rondon, Courtney                                    Joseph L. Zeiden 2010 Children’s Trust
 Ross, Peter                                         Joseph L. Zeiden Family Trust
 Tanaka, Rhonda                                      Malfatti Family Trust
 Truong, Theresa                                     Malfatti, Carole
 Watson, Sharon                                      Malfatti, Daniel
 Weinsten, Mark                                      Michael & Debra Zeiden Children’s Trust
 Wolk, Malcom                                        Michael & Debra Zeiden Family Trust
 Zeiden, Joseph                                      Z Gallerie Founder Holdings Inc.
 Zeiden, Michael G.                                  Zeiden, Brandon Joshua
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  Zeiden, Debra A.                                      STATE OF COLORADO
  Zeiden, Joseph                                        STATE OF FLORIDA
  Zeiden, Joseph L.                                     STATE OF GEORGIA
  Zeiden, Liam Graham                                   STATE OF IDAHO
  Zeiden, Matthew Spencer                               STATE OF ILLINOIS
  Zeiden, Michael G.                                    STATE OF INDIANA
  Zeiden, Olivia Caroline Graham                        STATE OF KANSAS
                                                        STATE OF KENTUCKY
Governmental & Taxing Authorities                       STATE OF LOUISIANA
  Ada (ID) County                                       STATE OF MARYLAND
  Arapahoe County (CO), Treasurer                       STATE OF MASSACHUSETTS
  Bexar (TX), Appraisal District                        STATE OF MINNESOTA
  Broward County (FL), Property Appraiser               STATE OF MISSOURI
  CITY OF CENTENNIAL                                    STATE OF N CAROLINA
  CITY OF DENVER                                        STATE OF NEBRASKA
  CITY OF MESA                                          STATE OF NEVADA
  CITY OF PHOENIX                                       STATE OF NEW JERSEY
  CITY OF SCOTTSDALE                                    STATE OF NEW YORK
  CITY OF TUCSON                                        STATE OF OHIO
  Collin Central (TX) Appraisal District                STATE OF OREGON
  County of Los Angeles                                 STATE OF RHODE ISLAND
  Dallas Central Appraisal District (TX)                STATE OF TENNESSEE
  Dekalb County (GA), Tax Collector                     STATE OF TEXAS
  Denver County (CO)                                    STATE OF UTAH
  Fort Bend County (TX), Tax Assessor                   STATE OF VIRGINIA
  Fulton County (GA), Commission                        STATE OF WASHINGTON
  GULFSTREAM DIF                                        STATE OF WISCONSIN
  Hamilton County (IN)                                  Travis County (TX), Central Appraisal District
  Harris County (TX) Appraisal District                 Wake County (NC), Revenue Dept
  Hillsborough County (FL)                              Washington County (OR)
  King County (WA)
  Los Angeles County (CA), Tax Collector              Insurers
  Maricopa County (AZ)                                  Ace American Insurance Company
  Metropolitan Government of Nashville and              Allianze SE
Davidson County (TN)                                    Beazley Group
  Miami Dade County (FL), Property Appraiser            Chubb Limited
  Orange County (CA)                                    Federal Insurance Company
  Orange County (FL) Property Appraiser                 Fireman's Fund Insurance Company
  Palm Beach County Property Appraiser                  Great American Insurance Co.
  Placer County, (CA)                                   Lloyd's of London
  Riverside County (CA)                                 Lockton Companies
  Salt Lake County (UT), Assessor                       Sompo International
  San Diego County (CA), Treasurer                      The Continental Insurance Company
  San Francisco County (CA)                             The Hanover Insurance Company
  Santa Clara County (CA)
  STATE OF ALABAMA                                    Investment Bankers
  STATE OF ARIZONA                                      LAZARD MIDDLE MARKET LLC
  STATE OF CALIFORNIA
                                                9
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Landlords                                              Village Square Dana Park, LLC
  1515 N Halsted, LLC                                  Washington Prime Group
  223-1 DL Holdings                                    Westfield Corp.
  4TH STREET HOLDINGS LLC.                             WP Glimcher
  AD Pembroke Land Co                                  Zeiden Properties, LLC
  Bellevue Square, LLC
  Berman Enterprises                                 Lease Counterparties
  Beverly Drive Enterprises                            1515 N Halsted, LLC
  BV Centercal, LLC                                    223-1 DL Holdings LLC
  Causeway, LLC                                        4th Street Holdings, LLC
  CBL & Associates                                     AD Pembroke Land Co
  City Centre Partners                                 Bellevue Square, LLC
  Clearfork Retail Venture                             Berman Enterprises LP
  Colonial Properties Trust                            Beverly Drive Enterprises
  Coventry II/Trademark Montgomery Farm                BV Centercal, LLC
  Edens                                                Causeway, LLC
  Encinitas Town Center Assoc.                         CBL & Associates Properties Inc
  Forest City                                          City Centre Partners (Midway Companies LLC?)
  FRIT San Jose Town & Country                         Clearfork Retail Venture LLC
  Gateway Woodside                                     Colonial Properties Trust
  General Growth Properties, Inc.                      Coventry II DDR/Trademark Montgomery Farm
  Highland Village LTD Partnership                     Edens Inc
  Hines                                                Encinitas Town Center Assoc.
  Jones Lang LaSalle                                   Forest City Enterprises, Inc
  Kenwood Collection Retail, LLC                       FRIT San Jose Town & Country Village LLC
  Knox St Village Holdings                             Gateway Woodside Inc
  Legacy Village Investors                             General Growth Properties, Inc.
  Macerich                                             Highland Village LTD Partnership
  McCaffery                                            Hines Global REIT Inc
  Mercato, LLP Managed by Madison Marquette            Jones Lang LaSalle Inc
  Millenia Crossing                                    Kenwood Collection Retail, LLC
  Old Town De Lacey LLC                                Knox St Village Holdings Inc
  Regency Galleria North                               Legacy Village Investors LLC
  Second Paramus Associates                            Macerich Company
  Simon Property Group                                 McCaffery Interests, Inc.
  Skyview Drive LLC                                    Mercato, LLP Managed by Madison Marquette
  SLTS Grand Avenue                                    Millenia Crossing (Morris Millenia Associates
  SOUTH COAST PLAZA                                  LLC)
                                                       Old Town De Lacey LLC
  Southglenn Property Holdings
                                                       Regency Galleria North LLC
  Steiner & Assoc
  Taubman Centers, Inc.                                Second Paramus Associates LLC
  The Irvine Company, LLC                              Simon Property Group Inc
                                                       Skyview Drive LLC
  The Retail Property Trust
                                                       SLTS Grand Avenue LP / II LP
  The Roseville Fountains LP
  TM Market ST                                         SOUTH COAST PLAZA
  Town Center Lakeside                                 Southglenn Property Holdings, LLC
                                                       Steiner & Assoc Inc
  UE PATSON MT. DIABLO A LP
                                                       Taubman Centers, Inc.
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  The Irvine Company, LLC                              BOSS LOGISTICS LLC
  The Retail Property Trust                            BRAVO WAREHOUSE & DISTRIBUTION INC.
  The Roseville Fountains LP                           C.H. ROBINSON COMPANY
  TM Market ST (Trademark Property Company)            COMPASS LOGISTICS, INC.
  Town Center Lakeside (Planned Community              COYOTE LOGISTICS LLC
Developers, Ltd)                                       CUSTOM GLOBAL LOGISTICS
  UE Patson Mt Diablo LP                               DEL MAR DELIVERY
  Village Square Dana Park, LLC                        DESIGNER MOVING
  Washington Prime Group Inc                           EDC MOVING SYSTEMS
  Westfield Corp.                                      ELITE DELIVERY
  WP Glimcher (Washington Prime Group Inc)             FEDERAL EXPRESS (FEDEX)
  Zeiden Properties, LLC                               FIDELITONE LAST MILE INC.
                                                       HGL TRUCKING COMPANY INC.
Lenders/Surety Bonds
                                                       HOME DELIVERY SERVICE LLC
  Keybank N.A.
                                                       JJT LOGISTICS INC.
                                                       K.K.W. TRUCKING INC.
Litigants
                                                       LANDSTAR LOGISTICS
  Alston, Tenisha
                                                       MCKINNEY TRAILER RENTALS
  Correa, Rolando
                                                       R AND R DELIVERY SERVICES INC
  Dagostino, Ravit
                                                       RED CARPET MOVING INC.
  Gilmore, Kristal
                                                       SUN DELIVERY LLC
  Goode, Camille
                                                       TUSCANY 3PL
  Harper, Shelita
                                                       UPS SUPPLY CHAIN SOLUTIONS INC.
  Jackson, Mikala
                                                       WDI CO. OF OREGON INC.
  Johnson, David
                                                       XPO LOGISTICS
  Olmedo, Ramona
  Rosenthal, Kiera                                   Top 50 Unsecured Creditors
  Smith, Antwaunette
                                                       4TH STREET HOLDINGS LLC.
  Williams, Ankha
                                                       ACCURATE PERSONNEL LLC
                                                       APTOS INC.
Ordinary Course Professionals
                                                       ARENT FOX LLP
  ERNST & YOUNG US LLP
                                                       AT&T
  KIRKLAND & ELLIS
                                                       BASSETT MIRROR COMPANY INC.
  KLEHR HARRISON
                                                       BERKELEY RESEARCH GROUP
  Marcum LLC
  STRETTO                                              BPE GROWTH & OPERATIONS LLC
                                                       BRENTWOOD PRIVATE V LP
Professionals                                          C.H. ROBINSON COMPANY
  BPE GROWTH & OPERATIONS LLC                          CAF LAW GROUP
  Buchanan Ingersoll & Rooney                          CLASSIC CONCEPTS INC.
  DALLIMORE & CO. INC.                                 CONWAY MACKENZIE
  ERNST & YOUNG US LLP                                 CORRA TECHNOLOGY INC.
  KIRKLAND & ELLIS                                     COYOTE LOGISTICS LLC
  KLEHR HARRISON                                       CUSTOM GLOBAL LOGISTICS
  STRETTO                                              DALLIMORE & CO. INC.
                                                       DUKE REALTY LP
Shippers                                               EDC MOVING SYSTEMS
  ASAP TRUCKING COMPANY INC.                           ELITE DELIVERY

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  FACEBOOK INC.                                       McCollum, Hannah M.
  FACILITYSOURCE LLC                                  O’Malley, James R.
  FEDERAL EXPRESS (FEDEX)                             Panacio, Michael
  FEIZY RUGS                                          Sarkessian, Juliet
  HIGHLAND VILLAGE LTD PTSHP                          Schepacarter, Richard
  KD KNOX STREET VILLAGE HOLDCO                       Serrano, Edith A.
  KIERLAND GREENWAY LLC                               Shannon, Brendan L.
  LANDSBERG CO.                                       Silverstein, Laurie Selber
  LAZARD MIDDLE MARKET LLC                            Sontchi, Christopher S.
  LEFTBANK ART                                        Starr, Karen
  LISTRAK INC.                                        Tinker, T. Patrick
  LSC COMMUNICATIONS US LLC                           Vinson, Ramona
  MCG LOGISTICS                                       Walrath, Mary F.
  MICROEXCEL INC.                                     Weissgerber, Jaclyn
  MIDLAND PAPER COMPANY                               West, Michael
  PEKING HANDICRAFT INC.                              Wynn, Dion
  PEOPLEREADY INC.
  PRLHC MERCATO RETAIL 454802                       Utilities
  RETAILNEXT INC.                                     Advanced Disposal - PQ
  RR DONNELLEY                                        Advanced Disposal Services Inc.
  SADA SYSTEMS INC.                                   Alabama Power
  SOUTH COAST PLAZA                                   Alabama Power Co.
  SOVOS COMPLIANCE LLC                                All States Mall Service II
  SPENCER N. ENTERPRISES INC.                         All States Mall Services II
  TERRENO 139TH LLC                                   All States Services
  TUSCANY 3PL                                         Ameren Missouri
  UE PATSON MT. DIABLO A LP                           APS
  UPS SUPPLY CHAIN SOLUTIONS INC.                     Arizona Public Service Co.
  WPROMOTE INC.                                       Atmos Energy
  XPO LOGISTICS                                       Atmos Energy Corp.
                                                      Austell Natural Gas System
US Trustee, Judges, and Court Contacts for the        Austin, City of (TX)
District of Delaware (and key staff members)          Baltimore Gas & Electric Co.
  Attrix, Lauren                                      Berkeley, City of (CA)
  Buchbinder, David                                   Beverly Hills, City of (CA)
  Carey, Kevin J.                                     BGE
  Casey, Linda J.                                     Brask Mall Services I
  Dice, Holly                                         CenterPoint Energy
  Dortch, Shakima L.                                  CenterPoint Energy Inc.
  Fox, Timothy J., Jr.                                City of Austin TX
  Giordano, Diane                                     City of Berkeley CA/23523
  Green, Christine                                    City of Beverly Hills CA
  Gross, Kevin                                        City of Corona CA
  Hackman, Benjamin                                   City of Dallas TX
  Heck, Jeffrey                                       City of Houston TX - Water/Wastewater
  Keilson, Brya                                       City of Pasadena CA
  Kenny, Mark                                         City of Roseville CA
  Leamy, Jane
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  City of Torrance Utilities                             Louisville Gas & Electric
  Columbia Gas of Ohio                                   Murray City Corporation UT
  Columbia Gas of Ohio Inc.                              Murray, City of (UT)
  Com Ed                                                 Nashville Electric Service
  Commonwealth Edison                                    National Grid - Rhode Island
  Corona, City of (CA)                                   Nicor Gas
  CPS Energy                                             NW Natural
  Dallas, City of (TX)                                   Oak Brook, Village of (IL)
  Dominion Energy Ohio                                   O'Keefe Group, The
  Douglas, County of (GA)                                Olympic II Mall Services
  Douglasville, City of (GA)                             Olympic IV Mall Services
  Douglasville-Douglas County GA                         Orlando Utilities Commission
  East Bay Municipal Utility Dist (EBMUD)                Pacific Gas & Electric
  East Bay Municipal Utility District (CA)               Pacific Gas & Electric Co.
  EDCO Waste & Recycling Service                         Pasadena, City of (CA)
  Entergy Gulf States LA LLC                             Pinto Service Inc.
  Entergy Louisiana Inc.                                 Portland General Electric
  Entergy Texas Inc.                                     Portland General Electric (PGE)
  Eversource Energy                                      Precision Waste Solutions L.L.C.
  Flagg Creek Water Reclamation District                 Precision Waste Solutions LLC
  Flagg Creek Water Reclamation District (IL)            Professional Waste Management
  Florida Power & Light Co.                              Professional Waste Management Ltd.
  Florida Power & Light Company (FPL)                    PSE&G-Public Service Elec & Gas Co
  Golden State Water Co.                                 PSEG Long Island
  GreyStone Power Corp.                                  PSEGLI
  GreyStone Power Corporation (elec)                     Public Service Electric & Gas Co.
  Grogan Disposal Co. LLC                                Puget Sound Energy
  Grogan Disposal Company LLC                            Recology Golden Gate
  Houston, City of (TX), Water & Wastewater              Reliant Energy Solutions
  Idaho Power                                            Republic Services
  Idaho Power Co.                                        Republic Services Inc.
  Illuminating Co., The                                  Roseville, City of (CA)
  Intermountain Gas Co.                                  Salt River Project
  Intermountain Gas Company                              San Diego Gas & Electric
  International Environmental Management                 San Francisco, City of (CA), Public Utilities
  International Environmental Management Inc.          Commission
  Interstate Waste Services                              Sawnee EMC
  Jefferson Parish LA                                    SCANA Energy
  Jefferson, Parish of (LA)                              Scana Energy 1
  Kansas City Power & Light Co.                          SF - Water
  Keter Environmental Services Inc                       Southern California Edison
  Keter Environmental Services Inc.                      Southern California Gas
  LG&E - Louisville Gas & Electric                       Southern California Gas (The Gas Co.)
  Los Angeles Dept of Water & Power                      SRP -Salt River Project
  Los Angeles, City of (CA), Department of Water &       Submeter One
Power                                                    Sunshine Recycling Inc.
  Louisiana Water Co.                                    Sustainable Solutions Group

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 The Illuminating Company                            BAYBROOK LPC LLC
 TOG                                                 BAZAARVOICE INC.
 Torrance, City of (CA), Utilities                   BELLEVUE SQUARE LLC
 TXU Energy                                          BERKELEY RESEARCH GROUP
 Utility Payment Processing/BR Water                 Beverly Drive Enterprises
 Village of Oak Brook IL                             BLUE SHIELD OF CALIFORNIA
 Waste Industries - Douglasville                     BOOMI
 Waste Industries - Douglasville GA                  BPE GROWTH & OPERATIONS LLC
 Waste Management                                    BRE DDR IVA MILLENIA FL LLC
 Waste Management                                    BRENTWOOD PRIVATE V LP
 Waste Resources Gardena                             BV CENTERCAL LLC
 Waste Resources Inc                                 CDW DIRECT LLC.
 Waste Resources Inc.                                CHAOZHOU CANTAKE CRAFT CO. LTD.
 WCA Waste Systems Inc                               CITICRAFTS CORPORATION
 WCA Waste Systems Inc.                              CITY & COUNTY OF DENVER
 WE Energies                                         CITY OF CRANSTON, RI
 WE Energies/Wisconsin Electric/Gas                  CITYCENTRE TWO PARTNERS LP
 XCEL Energy                                         CLAY TERRACE PARTNERS LLC
 XCEL Energy:Northern States Power Co.               Clearfork Retail Venture LLC
 XCEL Energy:Public Service Company of CO            COAST TO COAST IMPORTS LLC
                                                     COMA INDUSTRY CO. LTD.
Vendors                                              COMMA
  119 LEAWOOD LLC                                    COMPTROLLER OF MARYLAND
  1515 N HALSTED LLC                                 CONTAINER MARKETING INC.
  3 GGG'S TRUCK LINES INC.                           CONWAY MACKENZIE
  4TH STREET HOLDINGS LLC.                           CORRA TECHNOLOGY INC.
  A&G REALTY PARTNERS, LLC                           COUNTY OF ORANGE
  A.R.T. FURNITURE INC.                              CRAWFISH LLC.
  AETNA GLASS                                        CREATIVE RETAIL PACKAGING INC.
  AETNA HEALTH MANAGEMENT                            CRITEO CORP.
  AKBAR BRASS PRODUCTS                               CROCKER DOWNTOWN DEVELOPMENT
  AMERICAN EXPRESS                                 ASSOC.
  AMERICAN SOLUTIONS FOR BUSINESS                    CURALATE INC.
  ANCHOR COMPUTER INC.                               CUSTOM GLOBAL LOGISTICS
  ANS                                                DALIAN CRYSTAL COAST GLASSWARE CO.
  ARBORETUM MALL LLC.                              LTD.
  ARDA CAM DIS TIC A.S.                              DALIAN HARVEST TRADING COMPANY LTD
  ARIZONA DEPT. OF REVENUE                           DALIAN WANHENGDA IMP-EXP CO. LTD.
  AROMASONG HOME PRODUCTS CO LTD                     DALLAS COUNTY TAX OFFICE
  ART DECORATION INTERNATIONAL (PVT)                 DALLIMORE & CO. INC.
LTD.                                                 DECO TEXTIL/SWAN SILK P LTD
  ARVIND IMPEX (INDIA) PVT.LTD.                      DECORINA COMPANY LTD.
  ASIADES HONG KONG LTD                              DEEPAK CORPORATION
  AT&T                                               DEL AMO FASHION CENTER
  AUDIOEYE INC.                                      DESIGNWORKS INK
  BAOBEI INT'L CO. LTD.                              DOS LAGOS CRN LLC
  BASSETT MIRROR COMPANY INC.                        D'SILY INTERNATIONAL COMPANY LIMITED
  BAY VIEW FUNDING                                   DUKE REALTY LP
                                            14
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  DURO HILEX POLY LLC                           HOCKER OXMOOR LLC
  EAST BATON ROUGE SHERIFF                      HOME INSIGHTS FURNITURE
  EAST INDIA COMPANY                            ILLINOIS DEPT. OF REVENUE
  EASTON GATEWAY LLC                            IMI MSW LLC
  ELIANO BALUYUT POTTERY INC                    INDIA INTERNATIONAL EXPORTERS
  EMPOWER                                       INDIANA DEPT OF REVENUE
  ENCINITAS TOWN CENTER ASSOC I LLC             INLOOK INDUSTRIAL LIMITED
  ERNST & YOUNG US LLP                          J&J SEASONAL COMPANY LTD
  ESCONDIDO MISSION VILLAGE LP                  JAGA INTERNATIONAL LTD.
  ESKRIDGE (E&A) LLC                            JASON FURNITURE(HANGZHOU)CO LTD.
  EUROSA FURNITURE CO (PTE) LTD                 JELLYCAT INC.
  EUROSTYLE                                     JETTCORP LIMITED
  EVERGREEN INTERNATIONAL EXPORTS               JIANGSU BSD INDUSTRIAL CO. LTD
  FACEBOOK INC.                                 JONES DAY
  FALCON SOCIAL INC. DBA FALCON.IO              JRA HHF VENTURE LLC
  FASHION PLACE ANCHOR ACQUISITION LLC          JULES AND ASSOCIATES INC.
  FASHION SHOW MALL LLC                         KD KNOX STREET VILLAGE HOLDCO
  FASHION SQUARE                                KENWOOD COLLECTION RETAIL
  FLORIDA DEPT OF REVENUE/STATE                 KIERLAND GREENWAY LLC
  FORTITUDE TECHNOLOGY                          KIRKLAND & ELLIS LLP
  FOUNTAINS AT ROSEVILLE                        KISHORIJI EXIM PVT LTD
  FRANCHISE TAX BOARD                           KISHORIJI EXPORTS
  FRINGE STUDIO LLC                             KLEHR HARRISON HARVEY BRANZBURG LLP
  FRIT SAN JOSE TOWN & COUNTRY VILLAGE          KNOX STREET VILLAGE INC.
LLC                                             KUKA (HK) TRAD CO. LIMITED
  FRIT SHOPS AT SUNSET PLACE OWNER LLC          LA CANTERA SPECIALTY RETAIL L.P.
  FURNITURE DELIVERY SOLUTIONS INC.             LANTELLIGENCE INC.
  FUZHOU SENWELL FURNITURE MFG CO.              LAVIHEX CO. LTD.
LTD.                                            LAZARD MIDDLE MARKET LLC
  GA DEPT OF REVENUE                            LCFRE SUGAR LAND TOWN SQUARE LLC
  GALLERIA SHOPPING CENTER LLC
                                                Legacy Village Investors LLC
  Gasthalter & Co. LP
                                                LIAONING LONGDE NEW ARTS & CRAFTS
  GATEWAY WOODSIDE INC.                         LIAOYANG JENNY GIFT CO. LTD.
  GLOBAL BEST INDUSTRIAL LTD.                   LSC COMMUNICATIONS US LLC
  GLOPARKS CO. LTD.
                                                M.R. INDUSTRIES
  GNS IMPEX
                                                MAGENTO INC.
  GOLD EAGLE USA                                MALIK EXPORTS
  GREATER LAKESIDE CORPORATION                  MALL IN COLUMBIA
  GREEN HILLS MALL TRG LLC
                                                MARCUM LLP
  GREENBERG TRAURIG LLP
                                                MARSHAL EXPORTS
  H. LAL INTERNATIONAL                          MAUYISING ENTERPRISE CORPORATION
  HARRIS TECHNOLOGIES INC.                      MAYFAIR MALL LLC
  HEILONGJIANG GRASSLAND LTD
                                                MCG LOGISTICS
  HERITAGE INDIA EXPORTS PVT. LTD.
                                                MELTWATER NEWS US INC
  HERO INTERNATIONAL GROUP COMPANY
                                                MERIDIAN CENTERCAL LLC
LIMITED
                                                METAL WORLD
  HIGHLAND VILLAGE LTD PTSHP
                                                METROPOLITAN TELECOMMUNICATIONS
  HITAISHI KK MANUFACTURING CO. PVT.LTD.
                                       15
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  MIDLAND PAPER COMPANY                        RETAILNEXT INC.
  MINHOU MINXING WEAVING CO. LTD.              ROBERT N. WEINGARTEN
  MN DEPT OF REVENUE                           ROOSEVELT FIELD
  MO DEPT OF REVENUE                           RPAI SOUTHWEST MANAGEMENT LLC
  MOOV CORPORATION                             SADA SYSTEMS INC.
  MRSAKAHN, LLC                                SAINIK ENTERPRISES
  MURANO INTERNATIONAL COMPANY                 SAINT LOUIS GALLERIA L.L.C.
LIMITED                                        SAMSON INTERNATIONAL ENTERPRISES
  NANTONG SIGMA INTERTRADE                   LIMITED
CORPORATION                                    SAPOTA INTERNATIONAL LTD.
  NATICK MALL                                  SCOTTSDALE FASHION SQUARE LLC
  NAVARRE AND ASSOCIATES INC.                  Second Paramus Associates LLC
  NAVKAR HOME                                  SHAANXI J&P ENTERPRISE CO. LTD.
  NEW JERSEY DIV OF TAXATION                   SHANGHAI EVERGREEN CO. LTD.
  NEW YORK STATE SALES TAX                     SHANGHAI HUAXING GLASS & CERAMICS CO
  NIELSEN & BAINBRIDGE llc                   LTD
  NORTH CAROLINA DEPT OF REVENUE               SHANXI YUENCHENG TRADING COMPANY
  NORTH GEORGIA PREMIUM OUTLETS              LIMITED
  OAKBROOK SHOPPING CENTER LLC.                SHAYNE INTERNATIONAL HOLDINGS LTD.
  OLD ORCHARD URBAN LTD. PTSHP.                SHENYANG HAODE NEW FOREIGN TRADE
                                             CO LTD
  OLD TOWN DELACEY LLC
                                               SHENZHEN SUNNIE INDUSTRIAL LIMITED
  OLIVER GAL ARTIST CO.
                                               SHINETIE TRADING COMPANY SHISHI
  ONELOGIN, INC.
  ONICA GROUP LLC                              SHINN YEOU GLASS CO. LTD
                                               SHOPCORE PROPERTIES L.P.
  OPTIV
                                               SHOPS AT MISSION VIEJO LLC
  ORIENT EXPRESS FURNITURE INC.
                                               SHOPS AT ST. JOHNS, LLC
  PERIMETER MALL LLC
                                               SIMPLY RACK & WAREHOUSE EQUIPMENT,
  PHILLIPS COLLECTION INC.
                                             INC.
  PHILLIPS EDISON STRATEGIC
                                               SOCIAL ANNEX, INC.
  PINTEREST INC.
                                               Sompo International
  PNG FURNISHINGS PVT LTD
                                               SOUTH COAST PLAZA
  PPF RTL ATLANTIC TOWN CENTER LLC
                                               SOUTHGLENN PROPERTY HOLDINGS LLC
  PRINT STRATEGY INC
                                               SOVOS COMPLIANCE LLC
  PRLHC MERCATO RETAIL 454802
                                               STAIART LIGHTING
  PROSKAUER ROSE LLP
                                               STATE BOARD OF EQUALIZATION
  PT. INDOTRADE MULTI NIAGA
                                               STATE COMPTROLLER TX
  QINGDAO SMILE TRADING CO. LTD.
                                               STEFAN & GLAS BEIJING CO LTD
  QUALITY PRODUCTS OF INDIA
                                               STYLECRAFT HOME COLLECTION
  QUANZHOU ALLEN LIGHT INDUSTRY CO.
LTD.                                           SUMMER GIFTS CO. LTD.
                                               SUNRISE HANDICRAFTS
  QUANZHOU JIANWEN CRAFT CO. LTD
                                               SUNRISE HOME DECORATION LTD
  R SQUARED MARKETING LLC.
                                               TAIWAN MELAMINE PRODUCTS INDUSTRIAL
  RAVIT D'AGOSTINO
                                             CO
  REBCOR CONSTRUCTION INC.
                                               TAIZHOU MOCRYSTAL CO. LTD
  Regency Galleria North LLC
                                               TAMPA WESTSHORE ASSOCIATES LP
  REMER & GEORGES-PIERRE, PLLC                 TAUBMAN CHERRY CREEK SHOPPING
  RETAIL CONSTRUCTION SERVICES INC.          CENTER LLC
  RETAIL MAINTENANCE SPECIALISTS
                                      16
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  TAX ASSESSOR COLLECTOR-TARRANT              VILLAGE AT WESTFIELD TOPANGA
COUNTY                                        WAI MING HONG
  TB MALL AT UTC LLC                          WASHINGTON DEPT OF REVENUE
  TENNESSEE DEPT OF REVENUE                   WESTFIELD ANNAPOLIS
  TERRENO 139TH LLC                           WHITESTONE REIT
  TESSIE INDUSTRIAL CO. LTD.                  WINS COMPANY LIMITED
  TGO CONSULTING INC.                         WOODFIELD MALL LLC
  THE CREATIVE CONNECTION LTD.                WORKFRONT, INC.
  THE HEN HOUSE INC.                          WPROMOTE INC.
  THE HOWARD ELLIOT COLLECTION                WUXI GREENTEX TECHNOLOGY CO. LTD.
  THINKLP                                     XIAMEN HANKA HOME INTERNATIONAL
  TIANJIN LIHO GROUP ANIMAL BY-PRODUCTS     TRADE CO
IMP&EXP CO LTD                                XIAMEN HOMESTYLE ENTERPRISES LIMITED
  TIC RETAIL PROP-FASHION ISLAND              XIAMEN MILLION STONE
  TM WILLOW BEND SHOPS LP                     YANCHENG SHINY ARTS&CRAFTS CO LTD
  TRANS-WORLD ASSOCIATES INC.                 YANGZHOU QUANHUA GLASS ARTS CO. LTD.
  TRAVIS COUNTY TAX COLLECTOR                 YRULER INC.
  TUSCANY 3PL                                 ZEBRA RETAIL SOLUTIONS
  U.S. SHELL INC.                             ZEDSONS
  UE PATSON MT. DIABLO A LP                   ZEIDEN PROPERTIES
  UNIVERSAL ARK ENTERPRISES                   ZENITH INSURANCE COMPANY
  UNIVERSAL ARQUATI                           ZHEJIANG SNOWING INDUSTRIAL & TRADE
  UNUSED CODE' OPEN FOR USE                 CO LTD
  USPS/PITNEY BOWES                           ZHONGSHAN ALBA IMP AND EXP CO LTD
  UTAH STATE TAX COMM                         ZHONGSHAN JIAXIN IMP AND EXP CO LTD
  VA DEPT OF TAXATION                         ZHONGSHAN RONGJING GLASS FURNITURE
  VACO LOS ANGELES LLC                      CO
  VENUS INTERNATIONAL                         ZIBO CITY ZICHUAN ZHENHUA GLASS
  VILLAGE AT GULFSTREAM PARK LLC              ZONES




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                                              Schedule 2

                          Engagements with Potential Parties-in-Interest

AETNA HEALTH MANAGEMENT
AMERICAN EXPRESS
Baltimore Gas & Electric Co.
BGE
BRENTWOOD PRIVATE V LP
Brentwood ZG LLC
Brentwood ZG, LLC
Com Ed
Commonwealth Edison
Florida Power & Light Co.
Florida Power & Light Company (FPL)
Forest City
Forest City Enterprises, Inc
Hines
Hines Global REIT Inc
Illuminating Co., The
Pacific Gas & Electric
Pacific Gas & Electric Co.
PHILLIPS EDISON STRATEGIC
Portland General Electric
Portland General Electric (PGE)
San Diego Gas & Electric
Southern California Gas
Southern California Gas (The Gas Co.)
The Illuminating Company
USPS/PITNEY BOWES

Notes:

   1. Lazard has also been engaged by several entities and/or their known affiliates on Schedule 1
      that, due to confidentiality obligations, Lazard is unable to disclose. These entities and/or
      their known affiliates are listed under the category of “Utilities” and have claims that are not
      material, either individually or in the aggregate, in the context of all claims in this case.
      Lazard’s representations of these entities and/or their affiliates are or were on matters that are
      unrelated to the Debtors and this case.

   2. Lazard notes that it has been engaged by an affiliate of Brentwood Associates, a beneficial
      owner of the Debtors. Lazard’s representation of that entity was on matters that are unrelated
      to the Debtors and this case.
